Name          |MichealRJ ohnson

2005 Fish Tickets
                             Reds                               Chums                   Cohos                   Pinks                   Total lb   Total Amt
TicketDate    FishTicketIC        lb         Price    Amt        lb     Price   Amt       lb    Price   Amt      lb     Price   Amt
7/14/2005     508661                1.748    $0.90 $1,573.20      63 $0.10      $6.30                                 4 $0.02   $0.08     1.815      $1,579.58
7/15/2005     508724                   236   $0.90    5212.40                                                                               236        $212.40
7/16/2005     508738                   672   $0.90   $604.80                                                                                672        $604.80
7/18/2005     508794              2.508      $0.90 $2,257.20      74 $0.10      $7.40      51   $0.30 $15.30      26 $0.02      $0.52     2,659      $2,280.42
7/20/2005     070579                381      S0.90    $342.90                              10   $0.30   $3.00     10 $0.02      $0.20       401       $346.10
7/21/2005     070618                   794   $0.90    $714.60    111 50.10 $11.10          49   50.30 514.70      25 $0.02      $0.50       979       $740.90
7/23/2005     508890                   439   S0.90    $395.10                                                                               439       $395.10
7/24/2005     070637                1.688    $0.90 $1,519.20                               20   $0.30   $6.00                             1,708      S1.525.20
Grand Total                         8.466    $0.90 $7,619.40     248 $0.10 $24.80         130   $0.30 $39.00      65 $0.02      S1.30     8.909      S7.684.50

Less Purchases:
Order Date    Order ID       Description                                                                                                              Total
1/1/2005      14343          Beginning Balance                                                                                                         $132.49
7/8/2005      14862          Alaska Steel Co - alum pipe, alum plate, etc                                                                              S439.95
7/9/2005      14886          Oil Pads.Carborator.gaskts.ign.coil.carb core.etc                                                                       $1,045.98
7/10/2005     14905          Bob Backman F/V Plover - Encine                                                                                         $3,800.00
7/12/2005     16043          Randal's Welding - woldinq work                                                                                         52.850.00
7/13/2005     15020          2-#8240 Batteries.Spk pig clmps.bolts.motor mt.                                                                           $482.78
              15021          6 ft. Heator Hose, bolts,knives, aloves.Delo 400                                                                          $308.69
              15063          22.1 Gallons Gas @ 2.33                                                                                                    S54.06
7/16/2005     15179          19.9 Gal. Gas (a) 2.33                                                                                                     $48.69
              15204          71.7 Gal. Gas @ 2.33                                                                                                      $175.41
7/17/2005     15216          Alaska Steel - alum supplies for welder                                                                                   $670.62
              15217          Alaska Steel - alum round                                                                                                  $42.00
7/19/2005     15280          20 Hrs. Lbor - Installed One 454 Motor/Trans.                                                                           $1,025.00
              15331          Billy Merck = 20 hrs labor @ $50                                                                                        $1,000.00
7/20/2005     15349          1&1/4 Washdown Pump,hydro Fluid.nut.bolt                                                                                  $722.33
              15350          Hydraulic Pump V-20. Credit 6 Ft. Hosed26.00)                                                                            $819.00
              15449          Crew license - Justin Godfrey                                                                                              S60.00
              15450          Crew license - Trevor Johnson                                                                                              $60.00
7/21/2005     15468          2 gal. Delo 100. 2 qloves                                                                                                  $32.59
7/22/2005     15505          43 Gal. Gas @ 2.38                                                                                                       S107.46
              15561          34.6 Gal. Gas @ 2.38                                                                                                       $86.47
              15562          48 Gal. Gas @ 2.38                                                                                                       $119.95
              15586          ATF. Bolts. Packinc. bolts                                                                                                 $19.26
7/23/2005     15601          1 Hour Labor-Gol Buut Running A«uln!                                                                                       S52.50
7/25/2005     15617          1950 Jab.Bilqe Pump.plua wires,nuts,bolts.wash                                                                           $191.63
              15618          IC-7 Coil. Dist. Cap                                                                                                      S70.25
              15625          Randal s Weldinq - misc repairs, fab/weld                                                                                $750.00
              15626          Randal's Welding - temp rpr on reel mount                                                                                $112.50
7/26/2005     15671          121.1 Gal.Gas @ 2.40                                                                                                     $305.17
              15672          82 Gal.Gas @ 2.40                                                                                                        $206.64
7/30/2005     15849          Ship & Shore Repair - encine work                                                                                        S960.00
              15850          GLM - Spool pieces                                                                                                       $262.50
8/3/2005      16007          Nyloc, Washers. 1/2x1 S3/4 Stainless                                                                                       S11.24
8/4/2005      16025          Prop.Shaft,damps, mounts.Nuts. etc.                                                                                    $1,141.82
a'5/2005      16042          Randal s Welding - fab & weld reel mounts                                                                                $375.00
8/7/2005      16069          GLM - boat shaft
                                                                                                                                                      $236.25
8/8/2005      16130          1-#/01-1829R.P.M.                                                                                                        $168.00
8/12/2005     16182          Ship & Shore Repair - boot work                                                                                        $3.021.25
8/15/2005     16187          Randal's Welding - rpr wet exhaust                                                                                        $75.00
              16188          Randal's Welding - rprshaft alley                                                                                        $337.50
9/6/2005      16174          Manuel Figuerirdo - labor on F/V Blues Traveler                                                                          $144.38
Grand Total
                                                                                                                                                   $22,524.36

1/1/2006                     Beginning Balance                                                                                                     -$14,839.86
4/28/2006     16542          Add: 2005 Red Salmon Adj S0.05/lb 8.466#                                                                                 $423.30
                             Balance due from Micheal Johnson                                                                                      -514,416.55




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                                                                               Exhibit                                                        p._/of^_
